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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION



                                             )
In re:                                       )   Chapter 11
                                             )
USA GYMNASTICS,                              )   Case No. 18-09108-RLM-11
                                             )
                      Debtor.                )
                                             )
USA GYMNASTICS,                              )
                                             )
                      Plaintiff,             )
               v.                            )   Adv. Case No. 19-50012
                                             )
ACE AMERICAN INSURANCE                       )
COMPANY f/k/a CIGNA INSURANCE                )
COMPANY, GREAT AMERICAN                      )
ASSURANCE COMPANY, LIBERTY                   )
INSURANCE UNDERWRITERS INC.,                 )
NATIONAL CASUALTY COMPANY,                   )
RSUI INDEMNITY COMPANY, TIG                  )
INSURANCE COMPANY, VIRGINIA                  )
SURETY COMPANY, INC. f/k/a                   )
COMBINED SPECIALTY INSURANCE                 )
COMPANY, WESTERN WORLD                       )
INSURANCE COMPANY, ENDURANCE                 )
AMERICAN INSURANCE COMPANY,                  )
AMERICAN INTERNATIONAL GROUP,                )
INC., AMERICAN HOME ASSURANCE                )
COMPANY, AND DOE INSURERS,                   )
                                             )
                     Defendants.             )
                                             )


  NOTICE OF COMPLETION OF BRIEFING AND REQUEST FOR TRANSMITTAL
  OF DOCUMENTS TO U.S. DISTRICT COURT (CASE NO. 18-CV-01306-RLY-MPB)

         Liberty Insurance Underwriters Inc., by and through its undersigned counsel, hereby

notifies the Court that briefing is complete on the Joinder to Renewed Motion of ACE American

Insurance Company, f/k/a Cigna Insurance Company and TIG Insurance Company to Withdraw
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the Reference and Renewed Motion of Liberty Insurance Underwriters, Inc. to Withdraw the

Reference of the Adversary Proceeding [Docket Nos. 194 & 208] and respectfully requests that,

pursuant to Local Bankruptcy Rule B-5011-1(f), the Clerk of this Court transmit to the District

Court for the Southern District of Indiana (Case No. 18-cv-01306-RLY-MPB) the relevant

briefing and record located at Docket Nos. 193, 194, 208, 210, and 211.

                                            Respectfully submitted,

Dated: September 6, 2019                    LIBERTY INSURANCE UNDERWRITERS INC.

                                            By its attorneys,

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                                CERTIFICATE OF SERVICE

         I hereby certify that on the 6th day of September, 2019, a copy of the foregoing Notice of
Completion of Briefing and Request for Transmittal of Documents to U.S. District Court (Case
No. 18-CV-01306-RLY-MPB was filed electronically. Notice of this filing will be sent to the
following parties through the Court’s Electronic Case Filing System. Parties may access this
filing through the Court’s system.

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